    Case 4:22-cv-00825-P Document 33-1 Filed 10/10/22                 Page 1 of 1 PageID 1024

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                        H)R THE NORTIIEkN l>IS'l'klCT (W ·n :XAS
                                 FORT WOkTll l>IVISION

AL.\RIC STONE. ERlC JACKSON. aml                        )
~lIClL\EL MARCENELLE. on behalf of                      )
themselves anJ all others similarly situated.           )
                                                        )      Cu~c No. 4:22-cv-0(>82.5-I'
                       Pl;1intiffs.                     )
V                                                       )
                                                        )
..\LEJANDRO N. l\L.\YORKAS. in his olfo.:ial           )
capacity a.-, Secretary of Homeland Security.          )
LLOYD J. AUSTIN. III. in his                           )
official capacity as Secretary of Defense,             )
~'l>A L FAGA.i.~. in her official                      )
capacity a.c; Commandant of the Coast Guard, and       )
BRL\N K. PENOYER, in his official capacity             )
as Assistant Commandant for Human                      )
Resources of the Coast Guard.                          )
                                                        )
                       Defend ants.                     )


    FIRST SUPPLEMENTAL DECLARATION OF BOATSWAIN'S MATE 1ST CLASS
                           ERIC JACKSON

        Pursuant to 28 U .S.C. § 1746, I, Eric Jackson, under penalty of perjury declare as follo\\--S:

        I.     I am over the age of eighteen and I am competent to make this declaration.

        2.     I have never lived, resided. or been stationed in the Middle District of Flori.di..

        3.     I have never consented to this action being in the U.S. District Court for the

Southern District of Texas or the U.S. District Court for the Middle District of Florid.i.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on

October RJ'7 • 2022.




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